Case 1:23-cv-00750-ENV-RER                 Document 17             Filed 06/09/23   Page 1 of 2 PageID #: 50




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  --------------------------------------------------------------X
  JONATHAN SYLLMAN,
                                                                        Case No.: 23cv00750-ENV
                            Plaintiff,
                                                                        STIPULATION OF
                   -against-                                            DISCONTINUANCE


  KEW GARDENS HILLS, LLC and
  A&E REAL ESTATE MANAGEMENT, LLC,

                             Defendants.
  -------------------------------------------------------------X


          The Plaintiff, having filed the Complaint in this Court under the Federal Fair Housing Act,

  the New York State Executive Law, and the New York City Administrative Code alleging that

  Defendants violated these laws in failing to give Plaintiff a reasonable accommodation with regard

  to his housing, and, the Defendants having filed an Answer to the Complaint, and, the parties

  wishing to settle this action, the Plaintiff agrees to discontinue this action without prejudice on the

  following terms; (1) the parties will engage in a cooperative dialogue regarding Plaintiff’s request

  for a reasonable accommodation in his housing pursuant to New York City Administrative Code

  Section 8-107(28) within 30 days of the entry of an order dismissing this action; (2) if, after the

  cooperative dialogue, no agreement is reached between the parties, Plaintiff may bring an action

  pursuant to the New York City Administrative Code Section 8-107 in the New York State Supreme

  Court in New York County; (3) this Agreement does not preclude Plaintiff proceeding again under

  the Federal Fair Housing Act and the New York State Executive Law if his physical and/or mental

  condition changes; (4) each party will abide their own attorney’s fees and costs.




  3193166v1
Case 1:23-cv-00750-ENV-RER       Document 17   Filed 06/09/23   Page 2 of 2 PageID #: 51




  Dated: Garden City, New York
         June 9, 2023

                                        MORITT HOCK & HAMROFF LLP
                                        Attorneys for Plaintiff
                                        By:
                                               /s/ Robert L. Schonfeld_______
                                        ROBERT L. SCHONFELD
                                        400 Garden City Plaza
                                        Garden City, New York 11530
                                        (516) 873-2000
                                        rschonfeld@moritthock.com




                                        GORDON REES SCULLY MANSUKHANI, LLP
                                        Attorneys for Defendants
                                        By:
                                               /s/ David J. Grech__________
                                        DAVID J. GRECH
                                        1 Battery Park Plaza, 28th Floor
                                        New York, New York 10004
                                        (212) 269-5500
                                        dgrech@grsm.com




  3193166v1
